             Case 08-03683-LA7                         Filed 04/30/08                 Entered 04/30/08 19:26:13                                  Doc 1               Pg. 1 of 45
B1 (Official Form 1) (1/08)
                                            UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA                                                                                           Voluntary Petition
                                                    SAN DIEGO DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Anderson, Eric Shawn

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
aka Eric S Anderson; aka Eric Anderson



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN (if more           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN (if more
than one, state all):     xxx-xx-9055                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
707 Valley Crest Drive
Oceanside, CA
                                                                          ZIP CODE                                                                                                ZIP CODE
                                                                            92058
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
San Diego
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
707 Valley Crest Drive
Oceanside, CA
                                                                          ZIP CODE                                                                                                ZIP CODE
                                                                            92058
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                  ZIP CODE


                Type of Debtor                                 Nature of Business                                   Chapter of Bankruptcy Code Under Which
              (Form of Organization)                              (Check one box.)                                     the Petition is Filed (Check one box.)
                 (Check one box.)
                                                     ¨    Health Care Business
                                                                                                     þ       Chapter 7
 þ      Individual (includes Joint Debtors)          ¨    Single Asset Real Estate as defined
                                                          in 11 U.S.C. § 101(51B)
                                                                                                     ¨       Chapter 9                                       ¨     Chapter 15 Petition for Recognition
                                                                                                                                                                   of a Foreign Main Proceeding
        See Exhibit D on page 2 of this form.
                                                     ¨    Railroad                                   ¨       Chapter 11
 ¨      Corporation (includes LLC and LLP)                                                           ¨       Chapter 12                                      ¨     Chapter 15 Petition for Recognition
                                                     ¨    Stockbroker                                                                                              of a Foreign Nonmain Proceeding
 ¨      Partnership
                                                     ¨    Commodity Broker                           ¨       Chapter 13

 ¨      Other (If debtor is not one of the above
        entities, check this box and state type
                                                     ¨    Clearing Bank                                                                     Nature of Debts
                                                                                                                                            (Check one box.)
        of entity below.)                            ¨    Other
                                                                 Tax-Exempt Entity                   þ       Debts are primarily consumer
                                                                                                             debts, defined in 11 U.S.C.
                                                                                                                                                             ¨     Debts are primarily
                                                                                                                                                                   business debts.
                                                             (Check box, if applicable.)                     § 101(8) as "incurred by an
                                                          Debtor is a tax-exempt organization                individual primarily for a
                                                     ¨    under Title 26 of the United States                personal, family, or house-
                                                          Code (the Internal Revenue Code).                  hold purpose."
                              Filing Fee (Check one box.)                                                                                 Chapter 11 Debtors
                                                                                                     Check one box:
 þ      Full Filing Fee attached.
                                                                                                     ¨       Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).

 ¨      Filing Fee to be paid in installments (applicable to individuals only). Must attach          ¨       Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        signed application for the court's consideration certifying that the debtor is               Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                ¨       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
                                                                                                             insiders or affiliates) are less than $2,190,000.
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
 ¨      attach signed application for the court's consideration. See Official Form 3B.
                                                                                                     Check all applicable boxes:
                                                                                                             A plan is being filed with this petition.
                                                                                                     ¨       Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     ¨       of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
 ¨    Debtor estimates that funds will be available for distribution to unsecured creditors.
 þ    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
 þ
 1-49
             ¨
             50-99
                          ¨
                          100-199
                                         ¨
                                         200-999
                                                         ¨
                                                         1,000-
                                                                          ¨
                                                                          5,001-
                                                                                           ¨
                                                                                           10,001-
                                                                                                                ¨
                                                                                                                25,001-
                                                                                                                                    ¨
                                                                                                                                    50,001-
                                                                                                                                                         ¨
                                                                                                                                                         Over
                                                         5,000            10,000           25,000               50,000              100,000              100,000
 Estimated Assets
 ¨           ¨            ¨              þ               ¨                ¨                ¨                    ¨                   ¨                    ¨
 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
 Estimated Liabilities
 ¨           ¨            ¨              þ               ¨                ¨                ¨                    ¨                   ¨                    ¨
 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2007 (Build 9.0.5.12, ID 3671827534)
              Case 08-03683-LA7                      Filed 04/30/08             Entered 04/30/08 19:26:13                            Doc 1          Pg. 2 of 45
B1 (Official Form 1) (1/08)                                                                                                                                                      Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Eric Shawn Anderson
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                               (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
                                                                                            such chapter. I further certify that I have delivered to the debtor the notice
 ¨      Exhibit A is attached and made a part of this petition.
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Jeffrey D. Larkin                                              04/30/2008
                                                                                                 Jeffrey D. Larkin                                                      Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 ¨      Yes, and Exhibit C is attached and made a part of this petition.

 þ      No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
      þ Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
        ¨ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.
                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)

 þ      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 ¨      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)

 ¨      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

 ¨      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

 ¨      Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2007 (Build 9.0.5.12, ID 3671827534)
            Case 08-03683-LA7                        Filed 04/30/08                     Entered 04/30/08 19:26:13                       Doc 1           Pg. 3 of 45
B1 (Official Form 1) (1/08)                                                                                                                                                          Page 3
 Voluntary Petition                                                                           Name of Debtor(s):     Eric Shawn Anderson
 (This page must be completed and filed in every case)
                                                                                         Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                           Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is         I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                            and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has             and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                              (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                              ¨ ICertified
                                                                                                  request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                           copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                  ¨ Pursuant   to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
                                                                                                title 11 specified in this petition. A certified copy of the order granting
                                                                                                  recognition of the foreign main proceeding is attached.


 X     /s/ Eric Shawn Anderson
      Eric Shawn Anderson
                                                                                              X
                                                                                                  (Signature of Foreign Representative)
 X
                                                                                                  (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     04/30/2008
     Date                                                                                         Date
                                Signature of Attorney*                                                   Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                              I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Jeffrey D. Larkin                                                                  defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Jeffrey D. Larkin                                Bar No. 228684                         have provided the debtor with a copy of this document and the notices and
                                                                                              information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                              or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 DOAN, LEVINSON & LILJEGREN, LLP
                                                                                              maximum fee for services chargeable by bankruptcy petition preparers, I have
 2850 PIO PICO DRIVE, STE. D                                                                  given the debtor notice of the maximum amount before preparing any document
 CARLSBAD, CA 92008                                                                           for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                              section. Official Form 19 is attached.


          (760) 450-3333
 Phone No.______________________        (760) 720-6082
                                 Fax No.______________________
                                                                                              Printed Name and title, if any, of Bankruptcy Petition Preparer
     04/30/2008
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                   state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                   partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                              Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                              X
                                                                                                  Date
 X                                                                                            Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                              partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                              Names and Social-Security numbers of all other individuals who prepared or
                                                                                              assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                    an individual.



     Title of Authorized Individual                                                           If more than one person prepared this document, attach additional sheets
                                                                                              conforming to the appropriate official form for each person.

                                                                                              A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                     and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
      Case 08-03683-LA7               Filed 04/30/08          Entered 04/30/08 19:26:13                Doc 1       Pg. 4 of 45

Official Form 1, Exhibit D (10/06)        UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
                                                  SAN DIEGO DIVISION
IN RE:   Eric Shawn Anderson                                                             Case No.
                                                                                                              (if known)

                     Debtor(s)

               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


þ   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

¨   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


¨    3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now.          [Must be accompanied by a motion for determination by the
court.] [Summarize exigent circumstances here.]




If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must
still obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a
certificate from the agency that provided the briefing, together with a copy of any debt management plan developed through
the agency. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A
motion for extension must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing, your case may be dismissed.
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Official Form 1, Exhibit D (10/06)       UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA
                                                 SAN DIEGO DIVISION
IN RE:   Eric Shawn Anderson                                                          Case No.
                                                                                                           (if known)

                     Debtor(s)

               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



¨   4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

         ¨    Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


         ¨    Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


         ¨    Active military duty in a military combat zone.

¨   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor:    /s/ Eric Shawn Anderson
                       Eric Shawn Anderson

Date:       04/30/2008
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B6A (Official Form 6A) (12/07)



In re Eric Shawn Anderson                                                       Case No.
                                                                                                                     (if known)



                                         SCHEDULE A - REAL PROPERTY


                                                                                                                  Current Value




                                                                                        Husband, Wife, Joint,
                                                                                                                   of Debtor's
                    Description and                            Nature of Debtor's




                                                                                          or Community
                                                                                                                    Interest in
                      Location of                             Interest in Property
                                                                                                                Property, Without    Amount Of
                       Property                                                                                                     Secured Claim
                                                                                                                 Deducting Any
                                                                                                                 Secured Claim
                                                                                                                  or Exemption


 Primary Residence                                     100%                                -                         $354,530.25       $450,590.24
 707 Valley Crest Drive
 Oceanside, CA 92058

 Year Built: 1988, 1,325 sq. ft.
 Bedrooms: 3 Bathrooms: 2




                                                                                     Total:                          $354,530.25
                                                                                     (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)




In re Eric Shawn Anderson                                                                   Case No.
                                                                                                             (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                  Husband, Wife, Joint,
                                                                                                                                          Current Value of
                                                                                                                                          Debtor's Interest




                                                                                                                    or Community
                                                                                                                                             in Property,

                                           None
                                                                                                                                          Without Deducting
             Type of Property                                     Description and Location of Property                                      any Secured
                                                                                                                                               Claim or
                                                                                                                                              Exemption

1. Cash on hand.                                  Cash on Hand                                                          -                          $45.00


2. Checking, savings or other finan-              Washington Mutual                                                     -                       $2,000.00
cial accounts, certificates of deposit            PO Box 1098
or shares in banks, savings and loan,             Northridge CA 91328
thrift, building and loan, and home-              Phone Number 1-800-788-7000
stead associations, or credit unions,             Checking
brokerage houses, or cooperatives.                Acct. 8773000654



3. Security deposits with public util-     X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,               Combined Misc. Items all valued under $ 475                           -                       $3,800.00
including audio, video and computer
equipment.

5. Books; pictures and other art                  Combined Misc. items all valued under $ 475                           -                       $1,350.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                               Misc. Wearing Apparel                                                 -                       $1,350.00



7. Furs and jewelry.                              Misc. Jewelry                                                         -                         $115.00


8. Firearms and sports, photo-                    Combined Misc. items all valued under $475                            -                         $200.00
graphic, and other hobby equipment.

9. Interests in insurance policies.        X
Name insurance company of each
policy and itemize surrender or
refund value of each.
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B6B (Official Form 6B) (12/07) -- Cont.




In re Eric Shawn Anderson                                                                  Case No.
                                                                                                            (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 1




                                                                                                                 Husband, Wife, Joint,
                                                                                                                                         Current Value of
                                                                                                                                         Debtor's Interest




                                                                                                                   or Community
                                                                                                                                            in Property,

                                            None
                                                                                                                                         Without Deducting
             Type of Property                                    Description and Location of Property                                      any Secured
                                                                                                                                              Claim or
                                                                                                                                             Exemption


10. Annuities. Itemize and name             X
each issuer.

11. Interests in an education IRA as        X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,                Police Retirment Plan                                               -                       $5,922.63
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-         X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint      X
ventures. Itemize.

15. Government and corporate bonds          X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                    X

17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.
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B6B (Official Form 6B) (12/07) -- Cont.




In re Eric Shawn Anderson                                                                  Case No.
                                                                                                            (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 2




                                                                                                                 Husband, Wife, Joint,
                                                                                                                                         Current Value of
                                                                                                                                         Debtor's Interest




                                                                                                                   or Community
                                                                                                                                            in Property,

                                             None
                                                                                                                                         Without Deducting
             Type of Property                                    Description and Location of Property                                      any Secured
                                                                                                                                              Claim or
                                                                                                                                             Exemption


19. Equitable or future interests, life      X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent             X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-            X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other           X
intellectual property. Give
particulars.

23. Licenses, franchises, and other          X
general intangibles. Give particulars.

24. Customer lists or other compilations     X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                  1988 Nissan Pickup Short Bed                                       -                         $625.00
and other vehicles and accessories.                 200,000 Miles

                                                    1999 Mercedes-Benz SLK230                                          -                       $9,795.00
         Case 08-03683-LA7                Filed 04/30/08          Entered 04/30/08 19:26:13               Doc 1      Pg. 10 of 45

B6B (Official Form 6B) (12/07) -- Cont.




In re Eric Shawn Anderson                                                                    Case No.
                                                                                                                  (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 3




                                                                                                                       Husband, Wife, Joint,
                                                                                                                                               Current Value of
                                                                                                                                               Debtor's Interest




                                                                                                                         or Community
                                                                                                                                                  in Property,

                                            None
                                                                                                                                               Without Deducting
             Type of Property                                     Description and Location of Property                                           any Secured
                                                                                                                                                    Claim or
                                                                                                                                                   Exemption

                                                   88,000 Miles


26. Boats, motors, and accessories.          X

27. Aircraft and accessories.                X

28. Office equipment, furnishings,           X
and supplies.

29. Machinery, fixtures, equipment,          X
and supplies used in business.

30. Inventory.                               X

31. Animals.                                       1 Dog and 2 cats                                                          -                         $500.00



32. Crops - growing or harvested.            X
Give particulars.

33. Farming equipment and                    X
implements.

34. Farm supplies, chemicals, and            X
feed.

35. Other personal property of any                 Guitars                                                                   -                         $650.00
kind not already listed. Itemize.
                                                   Class Action Lawsuit                                                      -                     $121,000.00
                                                   ALVIS vs. City of Oceanside
                                                   Case No.: 60-CV0911JM(WMC)
                                                   Value 80k-121k but will probably only see 1/2 of that less
                                                   Attorney Fees
                                                   Trial set for 8/08
                                                   Recovery Uncertain
                                                   Attorney: Dick Castle
                                                   2030 Main Street, Suite 1200
         Case 08-03683-LA7                Filed 04/30/08            Entered 04/30/08 19:26:13               Doc 1        Pg. 11 of 45

B6B (Official Form 6B) (12/07) -- Cont.




In re Eric Shawn Anderson                                                                      Case No.
                                                                                                                      (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                               Continuation Sheet No. 4




                                                                                                                           Husband, Wife, Joint,
                                                                                                                                                   Current Value of
                                                                                                                                                   Debtor's Interest




                                                                                                                             or Community
                                                                                                                                                      in Property,

                                              None
                                                                                                                                                   Without Deducting
             Type of Property                                       Description and Location of Property                                             any Secured
                                                                                                                                                        Claim or
                                                                                                                                                       Exemption

                                                     Irvine CA 92614
                                                     Phone Number 949-851-7615
                                                     Fax 949-752-0597

                                                     Various FDCPA, RFDCPA, Invasion of Privacy and                              -                       Unknown
                                                     seclusion, Tort-in-se, FCRA, and TCPA claims, arising from
                                                     creditors and debt scavengers unlawfully contacting the
                                                     debtor after notice of attorney representation, notice of
                                                     cease and desist, and notice of inability to pay. Estimated
                                                     value is unknown and debtor lacks legal sophistication to
                                                     comment on value. Please contact Attorney Michael G.
                                                     Doan for better estimate of value at (760) 450-3333 or
                                                     mike@doanlaw.com.




                                                                          4            continuation sheets attached   Total >                          $147,352.63
              (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
           Case 08-03683-LA7              Filed 04/30/08           Entered 04/30/08 19:26:13              Doc 1      Pg. 12 of 45

B6C (Official Form 6C) (12/07)




In re Eric Shawn Anderson                                                                    Case No.
                                                                                                                  (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

 Debtor claims the exemptions to which debtor is entitled under:           ¨      Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                  $136,875.

 ¨    11 U.S.C. § 522(b)(2)
 þ    11 U.S.C. § 522(b)(3)




                                                                                                                                    Current
                                                                                                                               Value of Property
                                                               Specify Law Providing Each             Value of Claimed
              Description of Property                                                                                          Without Deducting
                                                                       Exemption                         Exemption
                                                                                                                                   Exemption



 Cash on Hand                                            C.C.P. § 703.140(b)(5)                                   $45.00                  $45.00

 Washington Mutual                                       C.C.P. § 703.140(b)(5)                                $2,000.00               $2,000.00
 PO Box 1098
 Northridge CA 91328
 Phone Number 1-800-788-7000
 Checking
 Acct. 8773000654

 Combined Misc. Items all valued under $ 475             C.C.P. § 703.140(b)(3)                                $3,800.00               $3,800.00

 Combined Misc. items all valued under $ 475             C.C.P. § 703.140(b)(5)                                $1,350.00               $1,350.00

 Misc. Wearing Apparel                                   C.C.P. § 703.140(b)(3)                                $1,350.00               $1,350.00

 Misc. Jewelry                                           C.C.P. § 703.140(b)(4)                                  $115.00                 $115.00

 Combined Misc. items all valued under $475              C.C.P. § 703.140(b)(5)                                  $200.00                 $200.00

 Police Retirment Plan                                   C.C.P. § 703.140(b)(10)(E)                            $5,922.63               $5,922.63

 1988 Nissan Pickup Short Bed                            C.C.P. § 703.140(b)(5)                                  $625.00                 $625.00
 200,000 Miles

 1999 Mercedes-Benz SLK230                               C.C.P. § 703.140(b)(2)                                $3,300.00               $9,795.00
 88,000 Miles                                            C.C.P. § 703.140(b)(5)                                $6,495.00

 1 Dog and 2 cats                                        C.C.P. § 703.140(b)(3)                                  $500.00                 $500.00

 Guitars                                                 C.C.P. § 703.140(b)(5)                                  $650.00                 $650.00


                                                                                                              $26,352.63              $26,352.63
         Case 08-03683-LA7                Filed 04/30/08   Entered 04/30/08 19:26:13         Doc 1      Pg. 13 of 45

B6C (Official Form 6C) (12/07) -- Cont.




In re Eric Shawn Anderson                                                         Case No.
                                                                                                     (If known)



                                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                       Continuation Sheet No. 1



                                                                                                                       Current
                                                                                                                  Value of Property
                                                        Specify Law Providing Each       Value of Claimed         Without Deducting
              Description of Property
                                                                Exemption                   Exemption                 Exemption



 Class Action Lawsuit                               C.C.P. § 703.140(b)(5)                     $10,460.00               $121,000.00
 ALVIS vs. City of Oceanside
 Case No.: 60-CV0911JM(WMC)

 Value 80k-121k but will probably only see 1/2 of
 that less Attorney Fees
 Trial set for 8/08
 Recovery Uncertain

 Attorney: Dick Castle
 2030 Main Street, Suite 1200
 Irvine CA 92614
 Phone Number 949-851-7615
 Fax 949-752-0597




                                                                                               $36,812.63               $147,352.63
        Case 08-03683-LA7             Filed 04/30/08                                         Entered 04/30/08 19:26:13                Doc 1         Pg. 14 of 45

B6D (Official Form 6D) (12/07)
          In re Eric Shawn Anderson                                                                                     Case No.
                                                                                                                                                    (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                         ¨    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
        CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                                  AMOUNT OF         UNSECURED




                                                                                                                                UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                    CLAIM           PORTION, IF




                                                                                                                                 CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                  DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                    WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                  DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                      VALUE OF
                                                                                             PROPERTY SUBJECT                                  COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:     2005
ACCT #: xxxxxx2082                                                                NATURE OF LIEN:
                                                                                  First Trust Deed
Chase Mortgage Home Loan                                                          COLLATERAL:
                                                                                  House                                                          $441,390.24         $86,859.99
P.O. Box 78420                                                  -                 REMARKS:
Phoenix, AZ 85062



                                                                                  VALUE:                          $354,530.25
                                                                                  DATE INCURRED:     2005
ACCT #: 0707946620                                                                NATURE OF LIEN:
                                                                                  Line of Credit
Washington Mutual                                                                 COLLATERAL:
                                                                                  House                                                            $9,200.00           $9,200.00
PO Box 78065                                                    -                 REMARKS:
Phoenix AZ 85062



                                                                                  VALUE:                          $354,530.25




                                                                                                        Subtotal (Total of this Page) >            $450,590.24         $96,059.99
                                                                                                       Total (Use only on last page) >             $450,590.24         $96,059.99
________________continuation
       No                    sheets attached                                                                                                   (Report also on   (If applicable,
                                                                                                                                               Summary of        report also on
                                                                                                                                               Schedules.)       Statistical
                                                                                                                                                                 Summary of
                                                                                                                                                                 Certain Liabilities
                                                                                                                                                                 and Related
                                                                                                                                                                 Data.)
         Case 08-03683-LA7                Filed 04/30/08            Entered 04/30/08 19:26:13                    Doc 1       Pg. 15 of 45

B6E (Official Form 6E) (12/07)

In re Eric Shawn Anderson                                                                         Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

þ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

¨   Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).


¨   Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

¨   Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


¨   Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


¨   Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


¨   Deposits by individuals
    Claims of individuals up to $2,425* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


¨   Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


¨   Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).


¨   Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


¨   Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
        Case 08-03683-LA7              Filed 04/30/08                                    Entered 04/30/08 19:26:13              Doc 1      Pg. 16 of 45

B6F (Official Form 6F) (12/07)
  In re Eric Shawn Anderson                                                                                          Case No.
                                                                                                                                 (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
¨   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                               HUSBAND, WIFE, JOINT,
               CREDITOR'S NAME,                                                                       DATE CLAIM WAS                                   AMOUNT OF




                                                                                                                                        UNLIQUIDATED
                                                                                                                                         CONTINGENT
                MAILING ADDRESS                                                                        INCURRED AND                                      CLAIM




                                                                 OR COMMUNITY
                                                    CODEBTOR




                                                                                                                                          DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                             CLAIM.
             (See instructions above.)                                                            IF CLAIM IS SUBJECT TO
                                                                                                     SETOFF, SO STATE.


ACCT #: 5121-0797-1711-7045                                                            DATE INCURRED:   12/06
                                                                                       CONSIDERATION:
Alliance One                                                                           Misc. Collections                                                   $4,466.33
1160 Centre Pointe Drive, Suite #1                                                     REMARKS:
                                                                   -
Mendota Heights, MN 55120




Representing:                                                                          Citibank South Dakota                                             Notice Only
Alliance One                                                                           151 Bernal Rd. Ste 8
                                                                                       San Jose, CA 95119



ACCT #: XXX-XX-XXXX                                                                    DATE INCURRED:   12/06
                                                                                       CONSIDERATION:
Alliance one                                                                           Fine                                                                  $966.08
8589 Aero Drive                                                                        REMARKS:
                                                                   -
San Diego, CA 92123



ACCT #: xxxxxxxxx/xxxxx5090                                                            DATE INCURRED:   2007
                                                                                       CONSIDERATION:
Allied Interstate                                                                      Misc. Collections                                                   $1,619.69
3000 Corporate Exchange Dr.                                                            REMARKS:
                                                                   -
Columbus, OH 43231



ACCT #: 4264-2911-0893-0411                                                            DATE INCURRED:   6/03-5/07
                                                                                       CONSIDERATION:
Bank of America                                                                        Misc. Credit Card Purchases                                         $3,743.34
PO Box 60069                                                                           REMARKS:
                                                                   -
Wilmington DE 19886




Representing:                                                                          Creditors Interchange                                             Notice Only
Bank of America                                                                        80 Holtz Drive
                                                                                       Buffalo, NY 14225



                                                                                                                                    Subtotal >             $10,795.44

                                                                                                                         Total >
                                                                           (Use only on last page of the completed Schedule F.)
________________continuation
       3                     sheets attached                   (Report also on Summary of Schedules and, if applicable, on the
                                                                   Statistical Summary of Certain Liabilities and Related Data.)
        Case 08-03683-LA7                Filed 04/30/08                                     Entered 04/30/08 19:26:13              Doc 1      Pg. 17 of 45

B6F (Official Form 6F) (12/07) - Cont.
  In re Eric Shawn Anderson                                                                                             Case No.
                                                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
               CREDITOR'S NAME,                                                                          DATE CLAIM WAS                                   AMOUNT OF




                                                                                                                                           UNLIQUIDATED
                                                                                                                                            CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                      CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                             DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.



 Representing:                                                                            Fia Card Services                                                 Notice Only
 Bank of America                                                                          PO Box 15726
                                                                                          Wilmington, DE 19850



ACCT #: 4266-8410-7129-3383                                                               DATE INCURRED:   5/07-9/07
                                                                                          CONSIDERATION:
Chase                                                                                     Misc. Credit Card Purchases                                           $281.54
P.O. Box 15548                                                                            REMARKS:
                                                                      -
Wilmington, DE 19886-5548




 Representing:                                                                            Collectcorp                                                       Notice Only
 Chase                                                                                    P.O. Box 100789
                                                                                          Birmingham, AL 35210-0789



ACCT #: 040015932532                                                                      DATE INCURRED:   11/03-1/08
                                                                                          CONSIDERATION:
Citibank                                                                                  Misc. Credit Card Purchases                                           $357.61
PO Box 92350                                                                              REMARKS:
                                                                      -
Albuquerque NM 87199



ACCT #: 6011-0006-9030-4070                                                               DATE INCURRED:   5/91-12/07
                                                                                          CONSIDERATION:
Discover Financial Services                                                               Credit Card                                                         $8,320.13
P.O. Box 3008                                                                             REMARKS:
                                                                      -
New Albany, OH 43054-3008



ACCT #: 7302857257218167                                                                  DATE INCURRED:   8/04-11/07
                                                                                          CONSIDERATION:
Exxon Mobil                                                                               Misc. Credit Card Purchases                                         $1,032.03
PO Box 688940                                                                             REMARKS:
                                                                      -
Des Moines IA 50368



Sheet no. __________
              1        of __________
                               3     continuation sheets attached to                                                                   Subtotal >              $9,991.31
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
        Case 08-03683-LA7                Filed 04/30/08                                     Entered 04/30/08 19:26:13             Doc 1      Pg. 18 of 45

B6F (Official Form 6F) (12/07) - Cont.
  In re Eric Shawn Anderson                                                                                            Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
               CREDITOR'S NAME,                                                                          DATE CLAIM WAS                                  AMOUNT OF




                                                                                                                                          UNLIQUIDATED
                                                                                                                                           CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                     CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                            DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 4888-9311-5076-7346                                                               DATE INCURRED:    8/07
                                                                                          CONSIDERATION:
Frederick J. Hanna & Associates, P.C.                                                     Collecting for -Bank of America, N.A.                             $11,959.61
Attorney at Law                                                                           REMARKS:
                                                                      -
1655 Enterprise Way
Marietta, GA 30067



 Representing:                                                                            Bank of America                                                  Notice Only
 Frederick J. Hanna & Associates, P.C.                                                    P.O. Box 2276
                                                                                          Brea, CA 92823




 Representing:                                                                            World Points                                                     Notice Only
 Frederick J. Hanna & Associates, P.C.                                                    C/O Bank Of America
                                                                                          PO Box 15714
                                                                                          Wilmington DE 19886


ACCT #: 40015932532                                                                       DATE INCURRED:    11/03
                                                                                          CONSIDERATION:
NCO Financial                                                                             Misc. Collections                                                    $357.61
507 Prudential Rd                                                                         REMARKS:
                                                                      -                                                                            X
Horsham, PA 19044




 Representing:                                                                            Citibank                                                         Notice Only
 NCO Financial                                                                            PO Box 894904
                                                                                          Los Angeles CA 90189



ACCT #: F18924422/5424180874043158                                                        DATE INCURRED:    5/07
                                                                                          CONSIDERATION:
Northland Group, Inc.                                                                     Misc. Collections                                                 $12,112.78
P.O. Box 390905                                                                           REMARKS:
                                                                      -
Edina, MN 55439



Sheet no. __________
              2        of __________
                               3     continuation sheets attached to                                                                  Subtotal >             $24,430.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
        Case 08-03683-LA7                Filed 04/30/08                                     Entered 04/30/08 19:26:13              Doc 1      Pg. 19 of 45

B6F (Official Form 6F) (12/07) - Cont.
  In re Eric Shawn Anderson                                                                                             Case No.
                                                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
               CREDITOR'S NAME,                                                                          DATE CLAIM WAS                                   AMOUNT OF




                                                                                                                                           UNLIQUIDATED
                                                                                                                                            CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                      CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                             DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.



 Representing:                                                                            Citibank South Dakota                                             Notice Only
 Northland Group, Inc.                                                                    151 Bernal Rd. Ste 8
                                                                                          San Jose, CA 95119



ACCT #: 6279379                                                                           DATE INCURRED:   2007
                                                                                          CONSIDERATION:
Phillips & Cohen Associates                                                               Misc. Collections                                                   $1,594.89
258 Chapman Rd. Suite 205                                                                 REMARKS:
                                                                      -
Newark, DE 19702



ACCT #: xxxxx9055                                                                         DATE INCURRED:   2000
                                                                                          CONSIDERATION:
Sallie Mae                                                                                Student Loans                                                       $2,500.00
PO Box 9500                                                                               REMARKS:
                                                                      -
Wilkes Barre, PA 18773-9500



ACCT #: 5121-0797-1711-7045                                                               DATE INCURRED:   04-6/07
                                                                                          CONSIDERATION:
Sears                                                                                     Misc. Credit Card Purchases                                         $4,837.33
PO Box 6563                                                                               REMARKS:
                                                                      -
The Lakes NV 88901




 Representing:                                                                            Capital Management Services, LLP                                  Notice Only
 Sears                                                                                    726 Exchange Street, Ste. 700
                                                                                          Buffalo, New York 14210




Sheet no. __________
              3        of __________
                               3     continuation sheets attached to                                                                   Subtotal >              $8,932.22
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                           $54,148.97
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
        Case 08-03683-LA7              Filed 04/30/08        Entered 04/30/08 19:26:13               Doc 1       Pg. 20 of 45

B6G (Official Form 6G) (12/07)
   In re Eric Shawn Anderson                                                            Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


¨ Check this box if debtor has no executory contracts or unexpired leases.
                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.




   Chase Mortgage Home Loan                                              Financing on Trust Deed for Primary Residence
   P.O. Box 78420
   Phoenix, AZ 85062




   Washington Mutual                                                     Financing on Line of Credit for Primary Residence
   PO Box 78065
   Phoenix AZ 85062
         Case 08-03683-LA7                 Filed 04/30/08            Entered 04/30/08 19:26:13                   Doc 1        Pg. 21 of 45

B6H (Official Form 6H) (12/07)
In re Eric Shawn Anderson                                                                          Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

þ Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
           Case 08-03683-LA7                 Filed 04/30/08        Entered 04/30/08 19:26:13                   Doc 1       Pg. 22 of 45

B6I (Official Form 6I) (12/07)
In re Eric Shawn Anderson                                                                        Case No.
                                                                                                                     (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                             Dependents of Debtor and Spouse
                                 Relationship(s):                 Age(s):             Relationship(s):                            Age(s):
           Divorced




 Employment:                      Debtor                                                     Spouse
 Occupation                      Police Officer
 Name of Employer                City of Oceanside
 How Long Employed               19 years
 Address of Employer             300 N. Coast Highway
                                 Oceanside, CA 92054

INCOME: (Estimate of average or projected monthly income at time case filed)                                      DEBTOR                    SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                    $7,632.31
2. Estimate monthly overtime                                                                                         $0.00
3. SUBTOTAL                                                                                                      $7,632.31
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                 $1,555.56
   b. Social Security Tax                                                                                         $473.20
   c. Medicare                                                                                                    $110.67
   d. Insurance                                                                                                     $56.13
   e. Union dues                                                                                                    $96.68
   f. Retirement                                                                                                     $0.00
   g. Other (Specify)                                                                                                $0.00
   h. Other (Specify)                                                                                                $0.00
   i. Other (Specify)                                                                                                $0.00
   j. Other (Specify)                                                                                                $0.00
   k. Other (Specify)                                                                                                $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                $2,292.24
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                            $5,340.07
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                            $0.00
8.  Income from real property                                                                                         $0.00
9.  Interest and dividends                                                                                            $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                            $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                      $0.00
12. Pension or retirement income                                                                                      $0.00
13. Other monthly income (Specify):
      a.                                                                                                              $0.00
      b.                                                                                                              $0.00
      c.                                                                                                              $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                    $0.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                 $5,340.07
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                  $5,340.07
                                                                        (Report also on Summary of Schedules and, if applicable,
                                                                        on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
Overtime will decrease until July-Aug when officers go on vacation at which point overtime will be available.
         Case 08-03683-LA7                Filed 04/30/08           Entered 04/30/08 19:26:13                  Doc 1       Pg. 23 of 45

B6J (Official Form 6J) (12/07)
  IN RE: Eric Shawn Anderson                                                                    Case No.
                                                                                                                   (if known)



                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
¨
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                     $3,241.00
    a. Are real estate taxes included?        ¨ Yes      þ No
    b. Is property insurance included?        ¨ Yes      þ No
 2. Utilities: a. Electricity and heating fuel                                                                                               $200.00
               b. Water and sewer                                                                                                            $100.00
               c. Telephone                                                                                                                   $75.00
               d. Other: Cable/Internet                                                                                                      $145.00
 3. Home maintenance (repairs and upkeep)                                                                                                     $50.00
 4. Food                                                                                                                                     $325.00
 5. Clothing                                                                                                                                  $75.00
 6. Laundry and dry cleaning                                                                                                                  $35.00
 7. Medical and dental expenses                                                                                                               $50.00
 8. Transportation (not including car payments)                                                                                              $325.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                         $100.00
 10. Charitable contributions
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's                                                                                                          $46.00
           b. Life
           c. Health
           d. Auto                                                                                                                           $152.00
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)                                                                   $156.00
 Specify: Property Tax
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto:
             b. Other: Student Loan (Minimum)                                                                                                  $55.00
             c. Other:
             d. Other:
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other: See attached personal expenses                                                                                                 $265.00
 17.b. Other:
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                 $5,395.00
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: None.


 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                      $5,340.07
 b. Average monthly expenses from Line 18 above                                                                                            $5,395.00
 c. Monthly net income (a. minus b.)                                                                                                        ($54.93)
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                                 UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA
                                         SAN DIEGO DIVISION
IN RE:   Eric Shawn Anderson                                      CASE NO

                                                                 CHAPTER    7

                                      EXHIBIT TO SCHEDULE J




                                       Itemized Personal Expenses

Expense                                                                                                  Amount

Personal Hygiene/Haircuts                                                                                  $50.00
Pets                                                                                                      $100.00
Bank Fees                                                                                                  $15.00
Auto Upkeep/Tags                                                                                          $100.00


                                                                                Total >                  $265.00
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B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF CALIFORNIA
                                                     SAN DIEGO DIVISION
   In re Eric Shawn Anderson                                                         Case No.

                                                                                     Chapter      7


                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               Yes      1                 $354,530.25


 B - Personal Property                           Yes      5                 $147,352.63


 C - Property Claimed                            Yes      2
     as Exempt
 D - Creditors Holding                           Yes      1                                           $450,590.24
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes      1                                                 $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes      4                                            $54,148.97
     Nonpriority Claims
 G - Executory Contracts and                     Yes      1
    Unexpired Leases

 H - Codebtors                                   Yes      1


 I - Current Income of                           Yes      1                                                                   $5,340.07
     Individual Debtor(s)

 J - Current Expenditures of                     Yes      2                                                                   $5,395.00
    Individual Debtor(s)

                                             TOTAL        19                 $501,882.88              $504,739.21
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Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA
                                                    SAN DIEGO DIVISION
    In re Eric Shawn Anderson                                                         Case No.

                                                                                      Chapter       7

      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


¨    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
     information here.

This information is for statistical purposes only under 28 U.S.C. § 159.
Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                     Amount

 Domestic Support Obligations (from Schedule E)                                     $0.00

 Taxes and Certain Other Debts Owed to Governmental Units
                                                                                    $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                               $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                     $2,500.00

 Domestic Support, Separation Agreement, and Divorce Decree                         $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                    $0.00
 Obligations (from Schedule F)

                                                               TOTAL            $2,500.00

State the following:

 Average Income (from Schedule I, Line 16)                                      $5,340.07

 Average Expenses (from Schedule J, Line 18)                                    $5,395.00

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                 $7,632.31

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                             $96,059.99

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                            $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                 $0.00

 4. Total from Schedule F                                                                           $54,148.97

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $150,208.96
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B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Eric Shawn Anderson                                                              Case No.
                                                                                                                (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                   21
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 04/30/2008                                              Signature    /s/ Eric Shawn Anderson
                                                                         Eric Shawn Anderson

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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B7 (Official Form 7) (12/07)                    UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                                                         SAN DIEGO DIVISION
   In re:    Eric Shawn Anderson                                                                     Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
 ¨     including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $85,748.00                  Debtor Employment, 2006

        $97,795.00                  Debtor Employment, 2007

        $25,864.47                  Debtor Employment, 2008 YTD

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
 ¨     two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
        $10,973.00                  Debtor 401k withdraw 2006

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
 ¨     debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DATES OF
        NAME AND ADDRESS OF CREDITOR                                     PAYMENTS                AMOUNT PAID             AMOUNT STILL OWING
        Chase Mortgage Home Loan                                         $3241/mo.               $9,723.00               $441,390.24
        P.O. Box 78420
        Phoenix, AZ 85062

        Washington Mutual                                                $75/mo.                 $225.00                 $9,200.00

None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
 þ     preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
 þ     who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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B7 (Official Form 7) (12/07) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF CALIFORNIA
                                                        SAN DIEGO DIVISION
   In re:    Eric Shawn Anderson                                                                   Case No.
                                                                                                                          (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
 ¨     bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                            COURT OR AGENCY                 STATUS OR
        CASE NUMBER                                   NATURE OF PROCEEDING             AND LOCATION                    DISPOSITION
        Alvis vs. City of Oceanside                   Lawsuit                          U.S. District Court             Pending Trial in 8/08
        06-CV-0911-JM (WMC)                                                            Southern District
                                                                                       880 Front Street
                                                                                       San Diego CA 92101

None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
 þ     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
 þ     to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
 þ     (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
 þ     gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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B7 (Official Form 7) (12/07) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF CALIFORNIA
                                                        SAN DIEGO DIVISION
   In re:    Eric Shawn Anderson                                                                   Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
 ¨     consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Doan Law Firm, LLP.                                           6/07-10/07                       $1699
        2850 Pio Pico Drive, Ste. D
        Carlsbad, CA 92008

        Money Management International, Inc                           2/08                             $50.00
        9009 West Loop South, 7th Flr.
        Houston, TX 77096

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
 þ     either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
 þ
       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
 þ     transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
 þ     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
 þ     case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
 þ
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B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                                                         SAN DIEGO DIVISION
   In re:    Eric Shawn Anderson                                                                    Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
 þ     during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
 þ     Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
 þ     potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
 þ     Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
 þ     or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
 þ     dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.
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B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                                                         SAN DIEGO DIVISION
   In re:    Eric Shawn Anderson                                                                      Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
 þ

       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
 þ     keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
 þ     and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
 þ     debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
 þ     the debtor within two years immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
 þ     dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
 þ

       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
 þ

None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
 þ     holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
 þ     of this case.
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B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                                                         SAN DIEGO DIVISION
   In re:    Eric Shawn Anderson                                                                      Case No.
                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 5


None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
 þ     preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
 þ     bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
       case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
 þ     purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
 þ     has been responsible for contributing at any time within six years immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 04/30/2008                                                         Signature          /s/ Eric Shawn Anderson
                                                                        of Debtor          Eric Shawn Anderson

Date                                                                    Signature
                                                                        of Joint Debtor
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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    Official Form 8
    (10/05)
                                           UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA
                                                   SAN DIEGO DIVISION
    IN RE:    Eric Shawn Anderson                                                         CASE NO

                                                                                          CHAPTER          7

                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION


þ    I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.

¨    I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.

¨    I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:

                                                                                                                 Property will      Debt will be
                                                                                Property       Property         be redeemed          reaffirmed
Description of Secured               Creditor's                                  will be      is claimed         pursuant to        pursuant to
Property                             Name                                     surrendered     as exempt        11 U.S.C. § 722   11 U.S.C. § 524(c)

House                                Chase Mortgage Home Loan                     ¨               ¨                  ¨                  ¨
                                     P.O. Box 78420                          Debtor will continue making payments to creditor without
                                     Phoenix, AZ 85062                       reaffirming.
                                     xxxxxx2082

House                                Washington Mutual                            ¨               ¨                  ¨                  ¨
                                     PO Box 78065                            Debtor will continue making payments to creditor without
                                     Phoenix AZ 85062                        reaffirming.
                                     0707946620

                                                                                 Lease will be
Description                                                                    assumed pursuant
of Leased                            Lessor's                                     to 11 U.S.C.
Property                             Name                                        § 362(h)(1)(A)

Financing on Trust Deed for          Chase Mortgage Home Loan                         ¨
Primary Residence                    P.O. Box 78420
                                     Phoenix, AZ 85062

Financing on Line of Credit for      Washington Mutual                                ¨
Primary Residence                    PO Box 78065
                                     Phoenix AZ 85062


Date 04/30/2008                                                 Signature    /s/ Eric Shawn Anderson
                                                                            Eric Shawn Anderson




Date                                                            Signature
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B201 (04/09/06)                           UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
                                                  SAN DIEGO DIVISION
IN RE:   Eric Shawn Anderson




                    NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S) UNDER § 342(b)
                                    OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from credit
counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings you may
commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all information
you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not easily
described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you decide to
file a petition. Court employees cannot give you legal advice.


1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It
is up to the court to decide whether the case should be dismissed.

2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $39 administrative fee: Total fee $274)
1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

2. Under Chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
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                                            SOUTHERN DISTRICT OF CALIFORNIA
                                                    SAN DIEGO DIVISION
IN RE:   Eric Shawn Anderson




3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $39 administrative fee: Total fee $239)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.

                          Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,               Jeffrey D. Larkin                   , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Jeffrey D. Larkin
Jeffrey D. Larkin, Attorney for Debtor(s)
Bar No.: 228684
DOAN, LEVINSON & LILJEGREN, LLP
2850 PIO PICO DRIVE, STE. D
CARLSBAD, CA 92008
Phone: (760) 450-3333
Fax: (760) 720-6082
E-Mail: jeff@dllfirm.com




                                                     Certificate of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read this notice.

Eric Shawn Anderson                                                    X /s/ Eric Shawn Anderson                        04/30/2008
                                                                        Signature of Debtor                             Date
Printed Name(s) of Debtor(s)
                                                                       X
Case No. (if known)                                                        Signature of Joint Debtor (if any)           Date
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                                           UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA
                                                   SAN DIEGO DIVISION
IN RE:     Eric Shawn Anderson                                                           CASE NO

                                                                                         CHAPTER      7

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                   $1,699.00
     Prior to the filing of this statement I have received:                                         $1,699.00
     Balance Due:                                                                                         $0.00

2. The source of the compensation paid to me was:
             þ    Debtor                  ¨    Other (specify)

3. The source of compensation to be paid to me is:
             þ    Debtor                  ¨    Other (specify)

4.   þ   I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

     ¨   I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                      04/30/2008                              /s/ Jeffrey D. Larkin
                         Date                                 Jeffrey D. Larkin                          Bar No. 228684
                                                              DOAN, LEVINSON & LILJEGREN, LLP
                                                              2850 PIO PICO DRIVE, STE. D
                                                              CARLSBAD, CA 92008
                                                              Phone: (760) 450-3333 / Fax: (760) 720-6082




      /s/ Eric Shawn Anderson
     Eric Shawn Anderson
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                                      UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF CALIFORNIA
                                              SAN DIEGO DIVISION
  IN RE:   Eric Shawn Anderson                                                     CASE NO

                                                                                  CHAPTER       7

                                     VERIFICATION OF CREDITOR MATRIX


     The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 04/30/2008                                          Signature    /s/ Eric Shawn Anderson
                                                                     Eric Shawn Anderson



Date                                                     Signature
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B22A (Official Form 22A) (Chapter 7) (01/08)
                                                                    According to the calculations required by this statement:
In re: Eric Shawn Anderson
                                                                         ¨ The presumption arises.
                                                                         þ The presumption does not arise.
Case Number:                                                        (Check the box as directed in Parts I, III, and VI of this statement.)

      CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointly.
Joint debtors may complete one statement only.

                Part I. EXCLUSION FOR DISABLED VETERANS AND NON-CONSUMER DEBTORS
       If you are a disabled veteran described in the Veteran's Declaration in this Part I, (1) check the box at the beginning of the
       Veteran's Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete
       the verification in Part VIII. Do not complete any of the remaining parts of this statement.

 1A    ¨    Veteran's Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
       defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
       defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. § 901(1)).

       If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII. Do not
       complete any of the remaining parts of this statement.
 1B

       ¨      Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

                     Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a. þ Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
       b. ¨ Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
              penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
              are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
 2
                Complete only Column A ("Debtor's Income") for Lines 3-11.
       c.  ¨ Married, not filing jointly, without the declaration of separate households set out in Line 2.b above.
                Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
       d. ¨ Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for
                Lines 3-11.
       All figures must reflect average monthly income received from all sources, derived
                                                                                                            Column A  Column B
       during the six calendar months prior to filing the bankruptcy case, ending on the last day
       of the month before the filing. If the amount of monthly income varied during the six
                                                                                                             Debtor's Spouse's
       months, you must divide the six-month total by six, and enter the result on the
                                                                                                             Income    Income
       appropriate line.

 3     Gross wages, salary, tips, bonuses, overtime, commissions.                                               $7,632.31
       Income from the operation of a business, profession, or farm. Subtract Line b from
       Line a and enter the difference in the appropriate column(s) of Line 4. If you operate
       more than one business, profession or farm, enter aggregate numbers and provide
 4
       details on an attachment. Do not enter a number less than zero. Do not include any part
       of the business expenses entered on Line b as a deduction in Part V.
         a.    Gross receipts                                              $0.00
         b.    Ordinary and necessary business expenses                    $0.00
         c.    Business income                                   Subtract Line b from Line a                        $0.00

       Rent and other real property income. Subtract Line b from Line a and enter the
       difference in the appropriate column(s) of Line 5. Do not enter a number less than zero.
       Do not include any part of the operating expenses entered on Line b as a deduction in
 5     Part V.
        a. Gross receipts                                                $0.00
         b.    Ordinary and necessary operating expenses                   $0.00
         c.    Rent and other real property income               Subtract Line b from Line a                        $0.00




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B22A (Official Form 22A) (Chapter 7) (01/08)
 6     Interest, dividends, and royalties.                                                                         $0.00
 7     Pension and retirement income.                                                                              $0.00
       Any amounts paid by another person or entity, on a regular basis, for the household
       expenses of the debtor or the debtor's dependents, including child support paid for
 8
       that purpose. Do not include alimony or separate maintenance payments or amounts
       paid by your spouse if Column B is completed.                                                               $0.00
       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
       However, if you contend that unemployment compensation received by you or your
       spouse was a benefit under the Social Security Act, do not list the amount of such
 9     compensation in Column A or B, but instead state the amount in the space below:

         Unemployment compensation claimed to be a                     Debtor            Spouse
         benefit under the Social Security Act                         $0.00                                       $0.00
       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Do not include alimony or separate maintenance
       payments paid by your spouse if Column B is completed, but include all other
       payments of alimony or separate maintenance. Do not include any benefits received
 10    under the Social Security Act or payments received as a victim of a war crime, crime
       against humanity, or as a victim of international or domestic terrorism.

         a.

         b.
       Total and enter on Line 10                                                                                  $0.00
       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
 11                                                                                                             $7,632.31
       and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).
       Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
 12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
       completed, enter the amount from Line 11, Column A.                                                              $7,632.31

                                     Part III. APPLICATION OF § 707(b)(7) EXCLUSION
 13    Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12
       and enter the result.                                                                                                  $91,587.72
       Applicable median family income. Enter the median family income for the applicable state and household
       size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
 14
       court.)

       a. Enter debtor's state of residence:           California           b. Enter debtor's household size:       1         $45,518.00
       Application of Section 707(b)(7). Check the applicable box and proceed as directed.

       ¨      The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not
 15           arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.

       þ      The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                          Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                     Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16    Enter the amount from Line 12.                                                                                           $7,632.31
       Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
       Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
       debtor's dependents. Specify in the lines below the basis for excluding the Column B income (such as
       payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the
       debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional
 17    adjustments on a separate page. If you did not check box at Line 2.c, enter zero.

         a.

         b.

        c.
       Total and enter on line 17.                                                                                                  $0.00
 18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                              $7,632.31

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B22A (Official Form 22A) (Chapter 7) (01/08)

                                Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                        Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
        National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS
 19A    National Standards for Food, Clothing and Other Items for the applicable household size. (This
        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                             $494.00

        National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
 19B    Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
        for Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
        www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of
        your household who are under 65 years of age, and enter in Line b2 the number of members of your
        household who are 65 years of age or older. (The total number of household members must be the
        same as the number stated in Line 14b.) Multiply Line a1 by Line b1 to obtain a total amount for
        household members under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total
        amount for household members 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to
        obtain a total health care amount, and enter the result in Line 19B.


         Household members under 65 years of age                   Household members 65 years of age or older

         a1.    Allowance per member                   $54.00      a2.   Allowance per member                   $144.00

         b1.    Number of members                            1     b2.   Number of members                             0

         c1.    Subtotal                               $54.00      c2.   Subtotal                                 $0.00         $54.00

        Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
 20A    and Utilities Standards; non-mortgage expenses for the applicable county and household size. (This
        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                             $435.00

        Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
        IRS Housing and Utilities Standards; mortgage/rent expense for your county and household size (this
        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the
 20B    total of the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract
        Line b from Line a and enter the result in Line 20B. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.    IRS Housing and Utilities Standards; mortgage/rental expense                                    $1,336.00
         b.    Average Monthly Payment for any debts secured by your home, if
               any, as stated in Line 42                                                                       $3,470.00

         c.    Net mortgage/rental expense                                              Subtract Line b from Line a.             $0.00
        Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
        and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
 21     Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
        for your contention in the space below:




        Local Standards: transportation; vehicle operation/public transportation expense.
        You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
        operating a vehicle and regardless of whether you use public transportation.
 22A    Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
        are included as a contribution to your household expenses in Line 8.   ¨ 0 ¨ 1 þ 2 or more.
        If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
        Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS
                                                                                                                               $832.00
        Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
        Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
                                                                                                                               $832.00
        of the bankruptcy court.)




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B22A (Official Form 22A) (Chapter 7) (01/08)
        Local Standards: transportation; additional public transportation expense.
        If you pay the operating expenses for a vehicle and also use public transportation, and you contend that
        you are entitled to an additional deduction for your public transportation expenses, enter on Line 22B the
 22B
        "Public Transportation" amount from IRS Local Standards: Transportation. (This amount is available at
        www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                            $0.00
        Local Standards: transportation ownership/lease expense; Vehicle 1.
        Check the number of vehicles for which you claim an ownership/lease expense. (You may not claim an
        ownership/lease expense for more than two vehicles.)         ¨ 1 ¨ 2 or more.
        Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
        Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
 23
        Line a and enter the result in Line 23. DO NOT ENTER AN AMOUNT LESS THAN ZERO.
         a.   IRS Transportation Standards, Ownership Costs
         b.   Average Monthly Payment for any debts secured by Vehicle 1, as
              stated in Line 42
         c.   Net ownership/lease expense for Vehicle 1                                  Subtract Line b from Line a.

        Local Standards: transportation ownership/lease expense; Vehicle 2.
        Complete this Line only if you checked the "2 or more" Box in Line 23.
        Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
        Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
 24     Line a and enter the result in Line 24. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Transportation Standards, Ownership Costs
         b.   Average Monthly Payment for any debts secured by Vehicle 2, as
              stated in Line 42
         c.   Net ownership/lease expense for Vehicle 2                                  Subtract Line b from Line a.
        Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
        federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-
 25     employment taxes, social-security taxes, and Medicare taxes. DO NOT INCLUDE REAL ESTATE OR
        SALES TAXES.                                                                                                           $2,139.43
        Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
        payroll deductions that are required for your employment, such as retirement contributions, union dues,
 26     and uniform costs. DO NOT INCLUDE DISCRETIONARY AMOUNTS, SUCH AS VOLUNTARY 401(K)
        CONTRIBUTIONS.                                                                                                           $96.68
        Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
 27     for term life insurance for yourself. DO NOT INCLUDE PREMIUMS FOR INSURANCE ON YOUR
        DEPENDENTS, FOR WHOLE LIFE OR FOR ANY OTHER FORM OF INSURANCE.                                                            $0.00
        Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
 28     required to pay pursuant to the order of a court or administrative agency, such as spousal or child support               $0.00
        payments. DO NOT INCLUDE PAYMENTS ON PAST DUE OBLIGATIONS INCLUDED IN LINE 44.
        Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
        Enter the total average monthly amount that you actually expend for education that is a condition of
 29     employment and for education that is required for a physically or mentally challenged dependent child for                 $0.00
        whom no public education providing similar services is available.
        Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
 30     childcare--such as baby-sitting, day care, nursery and preschool. DO NOT INCLUDE OTHER                                    $0.00
        EDUCATIONAL PAYMENTS.

        Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
 31     on health care that is required for the health and welfare of yourself or your dependents, that is not
        reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered                  $0.00
        in Line 19B. DO NOT INCLUDE PAYMENTS FOR HEALTH INSURANCE OR HEALTH SAVINGS
        ACCOUNTS LISTED IN LINE 34.




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       Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
       you actually pay for telecommunication services other than your basic home telephone and cell phone
 32    service--such as pagers, call waiting, caller id, special long distance, or internet service--to the extent              $59.00
       necessary for your health and welfare or that of your dependents. DO NOT INCLUDE ANY AMOUNT
       PREVIOUSLY DEDUCTED.
 33    Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                    $4,110.11

                                      Subpart B: Additional Living Expense Deductions
                            Note: Do not include any expenses that you have listed in Lines 19-32
       Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
       expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
       spouse, or your dependents.
        a. Health Insurance                                                                           $56.13
 34      b.   Disability Insurance                                                                        $0.00
         c.   Health Savings Account                                                                      $0.00
       Total and enter on Line 34                                                                                               $56.13
       IF YOU DO NOT ACTUALLY EXPEND THIS TOTAL AMOUNT, state your actual total average monthly
       expenditures in the space below:


       Continued contributions to the care of household or family members. Enter the total average actual
       monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
 35    elderly, chronically ill, or disabled member of your household or member of your immediate family who is                  $0.00
       unable to pay for such expenses.
       Protection against family violence. Enter the total average reasonably necessary monthly expenses that
       you actually incurred to maintain the safety of your family under the Family Violence Prevention and
 36    Services Act or other applicable federal law. The nature of these expenses is required to be kept
                                                                                                                                 $0.00
       confidential by the court.

       Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
       Local Standards for Housing and Utilities, that you actually expend for home energy costs. YOU MUST
 37    PROVIDE YOUR CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU
       MUST DEMONSTRATE THAT THE ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

       Education expenses for dependent children less than 18. Enter the total average monthly expenses that
       you actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or
 38    secondary school by your dependent children less than 18 years of age. YOU MUST PROVIDE YOUR                              $0.00
       CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU MUST EXPLAIN
       WHY THE AMOUNT CLAIMED IS REASONABLE AND NECESSARY AND NOT ALREADY ACCOUNTED
       FOR IN THE IRS STANDARDS.

       Additional food and clothing expense. Enter the total average monthly amount by which your food and
       clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the
       IRS National Standards, not to exceed 5% of those combined allowances. (This information is available
 39    at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) YOU MUST DEMONSTRATE THAT THE
       ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of                  $0.00
 40    cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).

 41    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.                              $56.13




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B22A (Official Form 22A) (Chapter 7) (01/08)

                                              Subpart C: Deductions for Debt Payment
       Future payments on secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of creditor, identify the property securing the debt, state the Average Monthly
       Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
       the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
       following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
       page. Enter the total of the Average Monthly Payments on Line 42.
 42                  Name of Creditor              Property Securing the Debt           Average         Does payment
                                                                                        Monthly         include taxes
                                                                                        Payment         or insurance?
         a.   Chase Mortgage Home Loan           House                                     $3,241.00    ¨ yes þ no
         b.   Dan McAllister                     House                                       $154.00    þ yes ¨ no
         c.   Washington Mutual                  House                                        $75.00    ¨ yes þ no
                                                                                    Total: Add
                                                                                    Lines a, b and c.                         $3,470.00

       Other payments on secured claims. If any of the debts listed in Line 42 are secured by your primary
       residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
       you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
       in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
       amount would include any sums in default that must be paid in order to avoid repossession or
       foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on
       a separate page.
 43
                     Name of Creditor                  Property Securing the Debt          1/60th of the Cure Amount
         a.   Chase Mortgage Home Loan               House                                                     $54.02
         b.
         c.
                                                                                          Total: Add Lines a, b and c           $54.02
       Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
 44    as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
       filing. DO NOT INCLUDE CURRENT OBLIGATIONS, SUCH AS THOSE SET OUT IN LINE 28.                                             $0.00
       Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
       following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
       expense.

         a.   Projected average monthly chapter 13 plan payment.                                                $0.00

 45      b.   Current multiplier for your district as determined under schedules
              issued by the Executive Office for United States Trustees. (This
              information is available at www.usdoj.gov/ust/ or from the clerk of
              the bankruptcy court.)
                                                                                                                   8.3 %

         c.   Average monthly administrative expense of chapter 13 case                   Total: Multiply Lines a and b          $0.00
 46    Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                             $3,524.02
                                             Subpart D: Total Deductions from Income
 47    Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                            $7,690.26

                                Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
 48    Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                 $7,632.31

 49    Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                      $7,690.26

 50    Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                        ($57.95)

       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
 51                                                                                                                        ($3,477.00)
       enter the result.



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       Initial presumption determination. Check the applicable box and proceed as directed.

       þ      The amount on Line 51 is less than $6,575. Check the box for "The presumption does not arise" at the top of page 1 of
              this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52    ¨      The amount set forth on Line 51 is more than $10,950. Check the box for "The presumption arises" at the top of page 1
              of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the
              remainder of Part VI.
       ¨      The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53
              through 55).
 53    Enter the amount of your total non-priority unsecured debt

 54    Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.
       Secondary presumption determination. Check the applicable box and proceed as directed.

       ¨      The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the
 55
              top of page 1 of this statement, and complete the verification in Part VIII.

       ¨      The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises"
              at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                           Part VII: ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
       and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
       under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
       monthly expense for each item. Total the expenses.


 56                                           Expense Description                                                   Monthly Amount

         a.

         b.
         c.

                                                                         Total: Add Lines a, b, and c

                                                      Part VIII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct.
       (If this is a joint case, both debtors must sign.)



 57             Date: 04/30/2008                            Signature:     /s/ Eric Shawn Anderson
                                                                                                 (Debtor)


                Date:                                       Signature:
                                                                                           (Joint Debtor, if any)




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